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16

17                                  UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA
19                                     SAN FRANCISCO DIVISION
20
     SONOS, INC.,                                  Case No. 21-cv-07559-WHA
21
                       Plaintiff,                  DECLARATION OF EVAN D. BREWER
22                                                 IN SUPPORT OF SONOS, INC.’S
            v.                                     OPPOSITION TO GOOGLE LLC’S
23                                                 MOTION TO DISMISS SONOS’S
     GOOGLE LLC,                                   SECOND AMENDED COMPLAINT
24
                       Defendant.                  Date: February 24, 2022
25                                                 Time: 8:00 a.m.
                                                   Place: Courtroom 12, 9th Floor
26                                                 Judge: Hon. William Alsup
27                                                 Second Amnd. Complaint Filed: 02/23/2021
28
                                                      DECL. OF BREWER ISO SONOS’S OPP. TO GOOGLE’S
                                                     MOT. TO DISMISS SONOS’S SECOND AMD. COMPLAINT
                                                                                  21-CV-07559-WHA
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 1          I, Evan D. Brewer, declare as follows and would so testify under oath if called upon to do

 2   so:

 3          1.       I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, counsel

 4   of record to Sonos, Inc. (“Sonos”) in the above-captioned matter. I am a member in good standing

 5   of the Bar of the State of California. I make this declaration based on my personal knowledge,

 6   unless otherwise noted. If called, I can and will testify competently to the matters set forth herein.

 7          2.       I make this declaration in support of Sonos’s Opposition to Google’s Motion to

 8   Dismiss the Second Amended Complaint.

 9          3.       Attached hereto as Exhibit A is a true and correct excerpted copy of an email and
10   attachment sent by Mark Triplett of Sonos to John LaBarre and Allen Lo of Google on October

11   13, 2016, attaching a document titled “Sonos: Overview of Selected Sonos Patent Assets Relevant

12   to Google October 2016.”

13          4.       Attached hereto as Exhibit B is a true and correct excerpted copy of an email and

14   attachment sent by Willy Chen of Sonos to Matthew Gubiotti of Google on January 31, 2018,

15   attaching a document titled “Sonos and Google with Google Home Max Analysis.”.

16          5.       Attached hereto as Exhibit C is a true and correct copy of Sonos’s Claim Chart for

17   U.S. Patent No. 9,654,821, sent by Sonos to Google on February 22, 2019 as part of a set of 100

18   claim charts.

19          6.       Attached hereto as Exhibit D is a true and correct excerpted copy of an email and
20   attachment sent by Alaina Kwasizur of Sonos to Tim Kowalski and Bradley Riel of Google on

21   June 13, 2019, attaching a document titled “Sonos-Google IP License Discussion June 11, 2019.”.

22          I declare under penalty of perjury that the foregoing is true and correct to the best of my

23   knowledge. Executed this 24th day of January, 2022 in Mercer Island, Washington.

24

25

26                                                                EVAN D. BREWER
27

28
                                                              DECL. OF BREWER ISO SONOS’S OPP. TO GOOGLE’S
                                                    1       MOT. TO DISMISS SONOS’S SECOND AMD. COMPLAINT
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Sonos’sClaim Chart
U.S. PatentNo. 9,654,821
         Clai
            m: 1                                              Chromecast-Enabled ComputingDevices
 A methodcomprising:             Google’s lineofChromecast-enabledaudio players includes, int er alia, theGoogleHomeMini,the
                                 GoogleHome, theGoogleHomeMax, theGoogleHomeHub, andtheChromecast dongles, andthese
                                 Chromecast-enabledaudio players arecontrolledby smartphones, tablets, andcomputers i   nstalled
                                 withtheGoogleHomeapp, theGooglePlay Musicapp, and/or other Chromecast-enabledapps
                                 (whereacomputingdeviceinstalledwithat least oneoftheseapps is referredto herei    n as a
                                 “Chromecast-enabledcomputingdevice”). EachoftheforegoingChromecast-enabledaudio players
                                 comprises a“playback device”as reci   tedin claim 1, andeachChromecast-enabledcomputingdevice
                                 comprises a“controller”as recitedin claim 1.
 causing, viaacontroller, a      A Chromecast-enabledcomputingdevicei      s programmedwiththecapability to causeits graphical
 graphical interfaceto display   interfaceto display acontrol interfaceincludingoneor moretransport controls to control playback by
 acontrol interfaceincluding     theChromecast-enabledcomputingdevice.
 oneor moretransport
 controls to control playback    For instance, aChromecast-enabledcomputi   ngdeviceis programmedwiththecapabili       ty to display a
 by thecontroller;               control interfacethat i
                                                       ncludes oneor moretransport controls that, at times, control theChromecast-
                                 enabledcomputi   ngdevice’s playback ofaudio content from astreami    ngmusicservice(e.g., the
                                 Spotify musicservice). An exampleofthi  s functionality is illustratedin thefollowingscreenshot:




Confidenti
         al – Subjectto FRE 408                                   1

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Sonos’sClaim Chart
U.S. PatentNo. 9,654,821
 to theparticular zonegroup      cloudservers to addmulti
                                                        medi  acontent to alocal playback queueoftheparticular zonegroup, (b)
 comprises: (a) causingoneor     causi
                                     ngplayback at theChromecast-enabledcomputingdevi      ceto bestopped, and(c) modifyi ngthe
 morefi  rst cloudservers to     oneor moretransport controls ofthecontrol interfaceto control playback by theparti
                                                                                                                  cular zone
 addmulti   medi acontent to a   group.
 local playback queueofthe
 particular zonegroup; (b)   For instance, aChromecast-enabledcomputi      ngdeviceis programmedsuchthat, after detectingaset
 causi ngplayback at the     ofinputs to transfer thedevice’s playback ofaudi   o content from astreamingmusi    cservice(e.g.
 controller to bestopped; andSpotify) to aparticular group ofChromecast-enabledaudio players, theChromecast-enabled
 (c) modi fyi ngtheoneor     computingdevicefunctions to (i) causeoneor morecloudservers associatedwi          ththestreaming
 moretransport controls of   musi cservice(e.g., theSpotify cloudservers) to addURIs for suchaudio content to alocal playback
 thecontrol interfaceto      queueoftheparti   cular group ofChromecast-enabledaudio players, (ii   ) stop its own playback ofaudio
 control playback by the     content from thestreamingmusicservice, and(ii     i) modify thetransport controls ofits control
 particular zonegroup; and   interfacesuchthat thosetransport controls areconfiguredto control playback by theparticular group
                             ofChromecast-enabledaudio players rather than playback by theChromecast-enabledcomputing
                             device. Cf.https://support.google.com/googleplaymusic/answer/4415504?hl=en.
 causi ngtheparticular zone  A Chromecast-enabledcomputingdevicei        s programmedwiththecapability to causetheparticular
 group to play back the      zonegroup to play back themultimediacontent, wheretheparticular zonegroup playingback the
 multimediacontent, wherein multimediacontent comprises at least oneoftheChromecast-enabledaudi          o players in theparti
                                                                                                                             cular
 theparticular zonegroup     zonegroup retri  evingthemultimediacontent from oneor moresecondcloudservers ofastreaming
 playingback themultimedia content serviceandplayingback theretrievedmultimediacontent i         n synchrony withat least oneother
 content compri ses at least oftheat least two Chromecast-enabledaudio players i    n theparticular zonegroup.
 oneoftheplayback devices
 in theparticular zonegroup  For instance, aChromecast-enabledcomputi      ngdeviceis programmedsuchthat, after causingthe
 retrievingthemultimedia     device’s playback to betransferredto aparticular group ofChromecast-enabledaudio players, the
 content from oneor more     Chromecast-enabledcomputi      ngdeviceis capableofcausingtheparticular group ofChromecast-
 secondcloudservers ofa      enabledaudio players to play back audio content from astreamingmusicservice(e.g., theSpotify
 streamingcontent service    musi cservice), whichi   nvolves a“master”Chromecast-enabledaudio player in theparticular group
 andplayingback the          retri
                                 evingtheaudio content from oneor morecloudservers associ       atedwiththestreami     ngmusic
 retrievedmultimediacontent service(e.g., Spotify cloudservers) andplayingback theretrievedaudio content in synchrony wi       th
 in synchrony withat least   each“slave”Chromecast-enabledaudio player in theparticular group ofChromecast-enabledaudio
 oneother oftheat least two  players. See, e.g., https://support.google.com/googlehome/answer/7174267?hl=en;
 playback devices i n the    https://support.google.com/googlehome/answer/7559493?hl=en.
 particular zonegroup.




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         al – Subjectto FRE 408                                 6

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